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                                                       INTRODUCTION
                         3ODLQWLIIV¶ RSSRVLWLRQ FRQILUPV WKDW WKH\ LQWHQG WR LQWURGXFH D ZLGH UDQJH RI
                  LUUHOHYDQWDQGLQIODPPDWRU\VWDWHPHQWVLQFOXGLQJSLUDWHLPDJHU\DQHDUO\WKUHHGHFDGH
                  ROGTXRWHIURP6WHYH-REVWKDWSDUDSKUDVHV3DEOR3LFDVVRDQGUHIHUHQFHVWRVRFDOOHG
                  ³HIILFLHQW LQIULQJHPHQW´  %HFDXVH 3ODLQWLIIV IDLO WR FRQQHFW WKHVH VWDWHPHQWV WR DQ\
                  UHOHYDQW LVVXH DQG LQ DQ\ HYHQW IDLO WR RIIHU DQ\ FRKHUHQW DUJXPHQW IRU KRZ DQ\
                  SXUSRUWHG SUREDWLYH YDOXH RI VXFK VWDWHPHQWV RXWZHLJKV WKH XQIDLU SUHMXGLFH WKHLU
                  LQWURGXFWLRQZLOOFUHDWH$SSOH¶VPRWLRQin limine VKRXOGEHJUDQWHG
                                                         ARGUMENT
                 I.     PLAINTIFFS’ PROCEDURAL CHALLENGES ARE MERITLESS
                        3ODLQWLIIVZURQJO\DVVHUWWKDW$SSOHYLRODWHGWKLV&RXUW¶VOLPLWRIIRXUPRWLRQVin
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                 DUJXPHQWV XQGHU )5(  DQG  UHODWHG WR D VLQJOH WRSLF²i.e. LUUHOHYDQW DQG
                 LQIODPPDWRU\ VWDWHPHQWV DWWULEXWHG WR $SSOH¶V FXUUHQW DQG IRUPHU HPSOR\HHV  7KDW
                 $SSOHLQVHUWHGVXEKHDGLQJVIRUUHDGDELOLW\SXUSRVHVGRHVQRWWUDQVPXWHDVLQJOHPRWLRQ
                 LQWRVHYHUDO
                        3ODLQWLIIVDOVRZURQJO\DUJXHWKDWWKLVPRWLRQVKRXOGEHGHQLHGDVXQGXO\YDJXH
                 VLPSO\EHFDXVH$SSOHXVHGWKHZRUG³LQFOXGLQJ´ZKHQGHVFULELQJVRPHVXEFDWHJRULHV
                 RILUUHOHYDQWVWDWHPHQWVDWWULEXWHGWR$SSOH¶VHPSOR\HHV RUIRUPHUHPSOR\HHV 2SS
                 1RWRQHRI3ODLQWLIIV¶FLWHGFDVHVVWDQGIRUWKHSURSRVLWLRQWKDWDPRWLRQin limine
                 VKRXOGEHGHQLHGRXWULJKWVLPSO\EHFDXVHLWXVHVWKHZRUG³LQFOXGLQJ´ZKHQGHVFULELQJ
                 DFDWHJRU\RIHYLGHQFHRUDUJXPHQWWRH[FOXGH)RUH[DPSOHVHYHUDORI3ODLQWLIIV¶FDVHV
                 LQYROYHGPRWLRQVWKDWUHIHUHQFHGQHEXORXVFDWHJRULHVStars & Bars, LLC v. Travelers
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                    6KRXOG WKH &RXUW ILQG WKDW $SSOH¶V PRWLRQV DGGUHVV PXOWLSOH LVVXHV LW UHVSHFWIXOO\
                 UHTXHVWVWKDWWKH&RXUWQRQHWKHOHVVGHFLGH$SSOH¶VPRWLRQVLQOLPLQHFRQVLVWHQWZLWKLWV
                   SDVWSUDFWLFHSee, e.g.The Ohio House LLC v. City of Costa Mesa:/
                 DW Q &'&DO0DU  GHFLGLQJSODLQWLII¶VVL[PRWLRQVLQOLPLQH 
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                   $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                  Casualty Ins. Co. of Am.:/DW  &'&DO0D\  VHHNLQJ
                  WRSUHFOXGH³HYLGHQFHWKDW>GHIHQGDQW¶VDJHQW@ZDVQHJOLJHQWRUWKDW>GHIHQGDQW@>ZDV@
                  YLFDULRXVO\OLDEOHIRU>LWVDJHQW¶V@QHJOLJHQFH´ see also, e.g.McCoy v. Kazi:/
                  DW  &'&DO$XJ  VHHNLQJWRH[FOXGH³µSUREOHPVZLWKDQGRU
                  FRPSODLQWV¶DERXWZLWQHVVHV´ZKHUHWKHPRYDQW³SURYLGH>G@QRGHWDLORQZKDWVSHFLILF
                  FRPSODLQWV«RUWKHLUVXEMHFWPDWWHUV´ Haeger v. Goodyear Tire & Rubber Co.
                  :/DW  '$UL]6HSW  GHQ\LQJDV³YDJXH´DPRWLRQWRH[FOXGH
                  ³LQIODPPDWRU\FRPPHQWDU\E\WKHSDUWLHVWKHLUFRXQVHORUZLWQHVVHV Trovata, Inc v.
                  Forever 21, Inc.:/DW  &'&DO0DU  VHHNLQJWRH[FOXGH
                 ³HYLGHQFHRIWKLUGSDUW\DFWLRQV´ZLWKRXWGHVFULELQJWKHFRQWHQWVRXJKWWREHH[FOXGHG 
                 Baxter Diagnostics, Inc. v. Novatek Med., Inc.:/  6'1<6HSW
                   GHQ\LQJinter aliaDPRWLRQWRSUHFOXGHDOOHYLGHQFHRQDSDUWLFXODUFODLP 
                 +HUHLQFRQWUDVW$SSOHKDVHLWKHUSURYLGHGVSHFLILFH[DPSOHVWRLOOXVWUDWHWKHPHWHVDQG
                 ERXQGVRIWKHVXEFDWHJRULHVRIHYLGHQFHLWZLVKHVWRH[FOXGH HJVSHFLILFVWDWHPHQWV
                 E\6WHYH-REV RUSURYLGHGFULVSZHOOGHILQHGFDWHJRULHVWKDWDUHFOHDURQWKHLUIDFH HJ
                 PHGLDVSHFXODWLRQRUSROLWLFDOSRVLWLRQVDVFULEHGWR$SSOHRULWVOHDGHUVKLS 
                        7KHUHPDLQLQJGHFLVLRQVGHQLHGPRWLRQVin limineEHFDXVHWKH\FRQIOLFWHGZLWK
                 WKHFRXUW¶VSULRUUXOLQJVRUEDVLFWULDOSURWRFROSee, e.g.Apple Inc. v. Samsung Elecs.
                 Co.:/DW  1'&DO0DU  GHQ\LQJRQUHWULDOPRWLRQWR
                 H[FOXGH HYLGHQFH SRVWGDWLQJ WKH ILUVW WULDO EHFDXVH WKH PRWLRQ GLG QRW LGHQWLI\
                 ³DGGLWLRQDOVSHFLILFHYLGHQFH´QRWSUHFOXGHGE\DSULRURUGHUOLPLWLQJSUHVHQWDWLRQVWR
                 PDWHULDOV WLPHO\ GLVFORVHGEHIRUH WKH ILUVW WULDO Lego v. Stratos Int’l, Inc.  :/
                 DW  1'&DO1RY  GHQ\LQJPRWLRQWRSUHFOXGHXVHRIHYLGHQFH
                 DQG DGYHUVH LQIHUHQFH WKHUHIURP EHFDXVH PRYDQW IDLOHG WR HVWDEOLVK GLVFRYHU\
                 YLRODWLRQV 
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                         :KLOH$SSOHEHOLHYHVWKDWLWVPRWLRQLVVXIILFLHQWO\FOHDUWRWKHH[WHQWWKLV&RXUW
                  KDV TXHVWLRQV DERXW WKH VFRSH RI DQ\ SDUWLFXODU VXEFDWHJRU\ WKLV &RXUW¶V GHFLVLRQ LQ
                  Trovata SURYLGHV WKH DSSURSULDWH VROXWLRQ  6SHFLILFDOO\ WKLV &RXUW VKRXOG GHFLGH WKH
                  PRWLRQ ZLWK UHVSHFW WR SDUWLFXODU H[DPSOHV DQGRU FOHDUO\ GHILQHG FDWHJRULHV  DQG
                  UHTXLUH 3ODLQWLIIV ³WR PDNH DQ RIIHU RI SURRI RXWVLGH WKH SUHVHQFH RI WKH MXU\ EHIRUH
                  RIIHULQJDQ\HYLGHQFH´WKDWWRXFKHVRQDEURDGFDWHJRU\DVDZKROHTrovata:/
                  DW 
                  II.    IRRELEVANT AND/OR INFLAMMATORY STATEMENTS ATTRIBUTED TO
                         CURRENT AND FORMER APPLE EMPLOYEES SHOULD BE EXCLUDED
                        A.     Plaintiffs Do Not Object To Excluding The Two Specific Statements
                               By Dr. Michael O’Reilly Identified In Apple’s Opening Brief
                        $V $SSOH H[SODLQHG 3ODLQWLIIV VKRXOG EH SUHFOXGHG IURP RIIHULQJ HYLGHQFH
                 WHVWLPRQ\RUDUJXPHQWFRQFHUQLQJLUUHOHYDQWDQGRUXQGXO\SUHMXGLFLDOVWDWHPHQWVE\
                 'U0LFKDHO2¶5HLOO\LQSDUWLFXODUFHUWDLQFRPPHQWVPDGHE\'U2¶5HLOO\PDGHGXULQJ
                 KLVHPSOR\PHQWDW$SSOHWKDWKDYHQRFRQQHFWLRQWRWKLVFDVH0RW3ODLQWLIIVKDYH
                 QRZDJUHHGQRWWRWU\WRLQWURGXFHWKHWZRLUUHOHYDQWLQIODPPDWRU\VWDWHPHQWVE\'U
                 2¶5HLOO\GLVFXVVHGLQ$SSOH¶VRSHQLQJEULHI2SS$SSOHWKHUHIRUHUHTXHVWVWKH
                 &RXUWHQWHUDQRUGHUEDUULQJWKHXVHRIWKRVHVWDWHPHQWV
                        B.     This Court Should Exclude References To Media Speculation Or
                               Political Positions Ascribed To Apple Or Its Leadership
                       $V$SSOHH[SODLQHGHYLGHQFHWHVWLPRQ\RUDUJXPHQWDERXWSROLWLFDOSRVLWLRQV
                 DWWULEXWHGWR$SSOHRULWVOHDGHUVKLSPHGLDUHSRUWVXQUHODWHGWRWKLVOLWLJDWLRQDQGPHGLD
                 VSHFXODWLRQDERXW$SSOHLVEDUUHGXQGHU)5(DQG0RW3ODLQWLIIV¶RQO\
           
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                 
                    3ODLQWLIIVDUHLQFRUUHFW 2SS WKDW$SSOHGLGQRWLGHQWLI\RQHRIWKHWZR
                 VWDWHPHQWVDWWKHPHHWDQGFRQIHU(YHQLIWKDWZHUHWKHFDVHPRUHRYHU$SSOHVHQW
                   3ODLQWLIIVVHYHUDOOHQJWK\HPDLOVGHWDLOLQJLWVSRVLWLRQRQHDFKPRWLRQLQOLPLQHVKRUWO\
                 DIWHUWKHPHHWDQGFRQIHUZKLFKLQFOXGHGERWKVWDWHPHQWV([
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                   $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                  DQVZHULVWKDWWKLVFDWHJRU\LVWRR³YDJXH´IRUSXUSRVHVRIDPRWLRQin limine2SS
                  %XWDV$SSOHSRLQWHGRXWLQLWVRSHQLQJEULHIPXOWLSOHFRXUWVKDYHH[FOXGHGWKLVEDVLF
                  FDWHJRU\RIVWDWHPHQWVLQFDVHVLQYROYLQJ$SSOHSeeOptis Wireless Tech., LLC v. Apple
                  Inc.1RFY ('7H[-XO\ (&)DW )5( Pinn,
                  Inc. v. Apple Inc.:/DW  &'&DO-XO\ 3ODLQWLIIVPDNH
                  QRDWWHPSWWRGLVWLQJXLVKWKHVHFDVHVRURWKHUZLVHH[SODLQZK\WKHLUUXOLQJVVKRXOGQRW
                  DSSO\KHUHZKLFKLVQRWVXUSULVLQJJLYHQWKDWPHGLDVSHFXODWLRQRUSROLWLFDOSRVLWLRQV
                  DVFULEHGWR$SSOHRULWVOHDGHUVKLSDUHSODLQO\LUUHOHYDQWWRDQ\IDFWRIFRQVHTXHQFHLQ
                  WKLVPDWWHUDQGZRXOGKDYHWKHSRWHQWLDOWRFUHDWHXQIDLUSUHMXGLFHZLWKWKHMXU\$SUH
                 WULDO UXOLQJ LV WKXV QHFHVVDU\ WR DYRLG WKH MXU\ EHLQJ VZD\HG E\ VXFK LQDGPLVVLEOH
                 HYLGHQFH
                        C.      This Court Should Exclude Any Anecdotes About Apple’s Corporate
                                Culture Or History That Are Not Tied To The Facts Of This Case
                        $V $SSOH H[SODLQHG 3ODLQWLIIV VKRXOG QRW EH DOORZHG WR LQWURGXFH FHUWDLQ
                 DQHFGRWHV DV HYLGHQFH WKDW $SSOH KDV D FRUSRUDWH FXOWXUH GLVUHVSHFWIXO RI LQWHOOHFWXDO
                 SURSHUW\SURWHFWLRQV0RW3ODLQWLIIV¶DUJXPHQWVLQUHVSRQVHIDLO
                        0RVWQRWDEO\LWLV3ODLQWLIIV²DVWKHSDUW\VHHNLQJWRRIIHUHYLGHQFHDERXW$SSOH¶V
                 XVHRISLUDWHLPDJHU\DQGUHIHUHQFHV²WKDWKDYHWKH³EXUGHQRIVKRZLQJWKHUHOHYDQFH
                 DQGSUREDWLYHYDOXHRIWKHSURIIHUHGHYLGHQFHLQRUGHUWRSHUPLWWKHZHLJKLQJSURFHVV
                 UHTXLUHGXQGHU>)5(@´Berry v. Gates)G WK&LU 3ODLQWLIIV
                 GRQRWHYHQDWWHPSWWRPHHWWKDWEXUGHQ:KLOH3ODLQWLIIVSRLQWWRDQXQGDWHGXQFUHGLWHG
                 SLFWXUH RI D VNXOODQGFURVVERQHV IODJ ZKLFK $SSOH¶V  E   ZLWQHVV GLG QRW HYHQ
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                 
                    3ODLQWLIIV¶UHOLDQFHRQStars & Bars LVPLVSODFHGDVWKHPRYLQJSDUW\WKHUHVRXJKWWR
                 H[FOXGHDEURDGFDWHJRU\WKDWLQFOXGHGDWOHDVWVRPH³SODLQO\UHOHYDQW´HYLGHQFHStars
                   & Bars:/DW 3ODLQWLIIV¶RWKHUWZRFDVHVLQYROYHGH[FHHGLQJO\
                 YDJXHFDWHJRULHVRIHYLGHQFHSee Trovata:/DW  ³WKLUGSDUW\
                   DFWLRQV´ McCoy:/DW  ³SUREOHPVZLWKDQGRUFRPSODLQWV
                 DERXWZLWQHVVHV´ 
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                   UHFRJQL]H see 2SS   DQG D PRUH WKDQ WZRGHFDGHROG TXRWH IURP 6WHYH -REV ³LW¶V
                   EHWWHUWREHDSLUDWHWKDQWRMRLQWKHQDY\´ WKH\KDYHQRWLGHQWLILHGDQ\GRFXPHQWRU
                   HYHQ D VLQJOH OLQH RI WHVWLPRQ\ WKDW VXSSRUWV WKHLU DVVHUWLRQ WKDW WKH SLUDWH UHIHUHQFHV
                   PHDQ WKDW $SSOH ³HQFRXUDJHV RU DW OHDVW WROHUDWHV  FRS\LQJ´  2SS  see U.S. v.
                   Verduzco  )G   WK &LU   DIILUPLQJ H[FOXVLRQ RI HYLGHQFH DV
                   LUUHOHYDQW ZKHUH WKH SURSRQHQW ³ODLG´ ³LQVXIILFLHQW IRXQGDWLRQ« WR VXSSRUW WKH
                   WHVWLPRQ\¶VUHOHYDQFH´ 5DWKHUDV$SSOH¶V E  ZLWQHVVVXPPDUL]HGWKHSLUDWH
                   LPDJHU\LVPHUHO\PHDQWWR³FRQYH\WKHLGHDWKDW$SSOH¶VDELWGLIIHUHQWIURPWKHUHVWRI
                   WKHKHUG´DQGLVPRUH³QLPEOH>@DQGDJLO>H@´([DW,QGHHGWKHWHVWLPRQ\
                  FLWHG LQ ERWK $SSOH¶V PRWLRQ DQG 3ODLQWLIIV¶ RSSRVLWLRQ DOO SRLQWV WR WKH VDPH
                  FRQFOXVLRQ²WKDW $SSOH GRHV not SHUPLW RU WROHUDWH FRS\LQJ  See 0RW  TXRWLQJ
                  $SSOH¶V E  ZLWQHVV see also 2SS TXRWLQJinter aliaVWDWHPHQWVIURP$SSOH¶V
                  &(2DQG E  ZLWQHVV 
                         :KLOH3ODLQWLIIVUHO\RQIRXUFDVHVWRVXSSRUWWKHLUSRVLWLRQ 2SS QRQH
                  LVRQSRLQW,QIntegra Lifesciences I, Ltd. v. Merck KgaA:/ 6'
                  &DO -DQ    IRU H[DPSOH ERWK VLGHV KDG HYLGHQFH HJ H[SHUW WHVWLPRQ\  WR
                  VXSSRUW WKHLU FRPSHWLQJ SRVLWLRQV UHJDUGLQJ WKH GHIHQGDQW¶V ³QH[W EHVW DOWHUQDWLYH WR
                  LQIULQJHPHQW´id.DW +HUH3ODLQWLIIVKDYHQRHYLGHQFHWRVXSSRUWWKHLUDVVHUWLRQWKDW
                  WKHSLUDWHUHIHUHQFHVDQGLPDJHU\LQGLFDWH$SSOHHQFRXUDJHVFRS\LQJ7ZRRI3ODLQWLIIV¶
                  RWKHUFDVHVDUHLQDSSRVLWHEHFDXVHWKH\LQYROYHGZKHWKHUWKHdefendant ZDVSHUPLWWHG
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                   3ODLQWLIIVGRQRWHYHQERWKHUWROD\DIRXQGDWLRQIRUZKRWRRNWKHSLFWXUHDQGXQGHU
                    ZKDWFLUFXPVWDQFHV0U.DW]HQHOOHQERJHQ¶VGHFODUDWLRQVWDWHVPHUHO\WKDWLWLVD³WUXH
                  DQGFRUUHFWFRS\RIDSKRWRJUDSK´WKDW3ODLQWLIIVXVHGDWDGHSRVLWLRQRIRQHRI$SSOH¶V
                    HPSOR\HHV'NWDW
                  
                     3ODLQWLIIV EUXVK RII $QG\ +HUW]IHOG¶V H[SODQDWLRQ RI WKH SLUDWH UHIHUHQFHV RQ WKH
                  ³)RONORUH´ZHESDJHDV³RQHSHUVRQ¶VVXEMHFWLYHRSLQLRQ´ 2SS EXWWKH\RPLW
                    WKDW0U+HUW]IHOGZDVDPHPEHURIWKHRULJLQDO$SSOH0DFLQWRVKGHYHORSPHQWWHDP
                  DQGWKXVKDVVSHFLDONQRZOHGJHDERXWWKHRULJLQVRIWKHLPDJHU\,QDQ\HYHQWDVQRWHG
                    3ODLQWLIIVKDYHQRWLGHQWLILHGDQ\WKLQJWKDWFRQWUDGLFWV0U+HUW]IHOG¶VDFFRXQWZKLFKLV
                  HQWLUHO\FRQVLVWHQWZLWKWKHWHVWLPRQ\RI$SSOH¶VZLWQHVVHVLQWKLVPDWWHU
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                    $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                   WRSUHVHQWHYLGHQFHRILWVFRUSRUDWHFXOWXUHWRrebutSODLQWLIIV¶DFFXVDWLRQVRIFRS\LQJ
                   See VIA Techs., Inc. v. ASUS Comput. Int’l:/DW  1'&DO-XO\
                     GHIHQGDQWVVRXJKWWRSUHVHQW³HYLGHQFHRIWKHLURZQLQWHOOHFWXDOSURSHUW\´ 
                   Canon, Inc. v. Color Imaging, Inc.)6XSSG 1'*D'HF
                      GHIHQGDQWV VRXJKW WR SUHVHQW HYLGHQFH UHJDUGLQJ ³WKHLU GHYHORSPHQW RI >D
                   VSHFLILF@SDWHQWLQFRPELQDWLRQZLWKRWKHUHYLGHQFHRIWKHLURYHUDOOEXVLQHVVIRFXVRQ
                   WHFKQRORJ\DQGSDWHQWGHYHORSPHQW´ 7KHODVWFDVH William Hablinski Architecture v.
                   Amir Constr. Inc. LVHYHQIXUWKHUDILHOG7KHUHWKHTXHVWLRQZDVZKHWKHUGHIHQGDQWV
                   FRXOG SUHVHQW DQ\ HYLGHQFH DW DOO RI 3ODLQWLIIV¶ FRUSRUDWH FXOWXUH RI FRS\LQJ²QRW
                  ZKHWKHUGHIHQGDQWVKDGHVWDEOLVKHGWKDWDSDUWLFXODUW\SHRIHYLGHQFHZDVUHOHYDQWWR
                  VKRZLQJWKDWFRUSRUDWHFXOWXUH:/DW  &'&DO)HE 
                        3ODLQWLIIVDOVRDSSHDUWRDUJXHWKDWUHJDUGOHVVRIZKHWKHUWKHSLUDWHUHIHUHQFHVDQG
                  LPDJHU\DUHLUUHOHYDQWZLWKLQWKHPHDQLQJRI)5(WKH\DUHDGPLVVLEOHXQGHU)5(
                   E WRVKRZ³LQWHQWNQRZOHGJHDEVHQFHRIPLVWDNHDQGODFNRIDFFLGHQW´2SS
                  %XW)5( E GRHVQRWFUHDWHDQH[FHSWLRQWR)5(DQG¶VEDURQLUUHOHYDQWRU
                  XQGXO\SUHMXGLFLDOHYLGHQFH,W³is notDGLIIHUHQWSDWKZD\WRWKHDGPLVVLRQRIHYLGHQFH
                  >IURP)5(@´LWLV³VLPSO\DVSHFLILFTXDOLILFDWLRQRIWKHJHQHUDOUXOHRIDGPLVVLELOLW\
                  RIDOOUHOHYDQWHYLGHQFH´United States v. Curtin )G WK&LU  HQ
                  EDQF  HPSKDVLVDGGHG id.DW HYHQUHOHYDQWHYLGHQFHWKDWIDOOVXQGHU)5( E 
                  LVVWLOOVXEMHFWWR)5( 0RUHRYHUWRWKHH[WHQW3ODLQWLIIVLQWHQGWRUHO\RQ$SSOH¶V
                  XVHRISLUDWHLPDJHU\DQGUHIHUHQFHVWRSURYH$SSOHFRSLHGLQWKLVSDUWLFXODUFDVH e.g.
                  2SS WKDWDSSURDFKLVVTXDUHO\EDUUHGE\)5( D  DQG E  DVLQDGPLVVLEOH
                  FKDUDFWHUHYLGHQFHCompare id.DW DUJXLQJ³>H@YLGHQFHWKDW$SSOHµVWHDOVLQWHOOHFWXDO
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                     7RWKHH[WHQWWKDW3ODLQWLIIVREMHFWWRWKHIDFWWKDW$SSOHPLJKWSUHVHQWIDYRUDEOH
                  HYLGHQFHUHJDUGLQJLWVRZQFRUSRUDWHFXOWXUH 2SS WKH\VKRXOGKDYHILOHG
                    WKHLURZQPRWLRQin limine RQWKDWLVVXH.7KH\FDQQRWQRZVHHNUHOLHIIRUWKHILUVWWLPH
                  LQWKHLURSSRVLWLRQEULHI 
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                    $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                   SURSHUW\ IURP RWKHU FRPSDQLHV¶ PDNHV LW PRUH OLNHO\ WKDW $SSOH PLVDSSURSULDWHG
                   0DVLPR¶VWUDGHVHFUHWVDQGILOHGSDWHQWVRQ0DVLPR¶VLQYHQWLRQV´ and )HG5(YLG
                    D   ³(YLGHQFHRIDSHUVRQ¶VFKDUDFWHURUFKDUDFWHUWUDLWLVQRWDGPLVVLEOHWRSURYH
                   WKDWRQDSDUWLFXODURFFDVLRQWKHSHUVRQDFWHGLQDFFRUGDQFHZLWKWKHFKDUDFWHURUWUDLW´ 
                       E   ³(YLGHQFHRIDQ\RWKHUFULPHZURQJRURWKHUDFWLVQRWDGPLVVLEOHWRSURYHD
                   SHUVRQ¶V FKDUDFWHU LQ RUGHU WR VKRZ WKDW RQ D SDUWLFXODU RFFDVLRQ WKH SHUVRQ DFWHG LQ
                   DFFRUGDQFHZLWKWKHFKDUDFWHU´ 
                            )LQDOO\HYHQLI3ODLQWLIIVFRXOGHVWDEOLVKWKDWWKHSLUDWHLPDJHU\DQGUHIHUHQFHV
                   KDYHDPRGLFXPRIUHOHYDQFHLWZRXOGEHVLJQLILFDQWO\RXWZHLJKHGE\WKHGDQJHURI
                  XQIDLUSUHMXGLFHDQGXQGXHGHOD\UHQGHULQJWKHPLQDGPLVVLEOHXQGHU)5(0RW
                  3ODLQWLIIVRIIHUQRPHDQLQJIXOUHVSRQVHWRWKHXQGXHGHOD\WKDWZRXOGEHFDXVHGE\WKH
                  QHHGIRU$SSOHWRSXWRQUHEXWWDOHYLGHQFH,QVWHDGWKHLURQO\DUJXPHQWLVWKDWWKHSLUDWH
                  LPDJHU\DQGUHIHUHQFHVDUHQRW³XQIDLUO\´SUHMXGLFLDO2SS1RWWUXH*LYHQWKDW
                  3ODLQWLIIVKDYHQRDFWXDOHYLGHQFH HJWHVWLPRQ\RULQWHUQDOGRFXPHQWV WRVKRZ$SSOH
                  KDGDFXOWXUHRIFRS\LQJWKHRQO\FRQFHLYDEOHZD\IRUWKHPWRXVHWKHSLUDWHLPDJHU\RU
                  UHIHUHQFHV ZRXOG EH WKURXJK XQSURYHQ DOOHJDWLRQV LQ WKH RSHQLQJ VWDWHPHQW RU YLD
                  LQIODPPDWRU\TXHVWLRQVSRVHGWR$SSOH¶VZLWQHVVHV%HFDXVHLWZLOOEHLPSRVVLEOHWR
                  XQULQJWKHEHOORQFH3ODLQWLIIVKDYHUDLVHGWKHLVVXHLQIURQWRIWKHMXU\WKLV&RXUWVKRXOG
                  VSHDNFOHDUO\QRZDQGEDUVXFKDQDSSURDFKSee Mixed Chicks LLC v. Sally Beauty
                  Supply LLC  ) 6XSS G   &' &DO   RQH RI WKH ³H[DPSOHV RI
                  SURSHUUHDVRQVIRUPRWLRQVLQOLPLQH´LV³>W@RUHVROYHKLJKO\VHQVLWLYHLVVXHVEHIRUHWKH
                  µEHOOLVUXQJ¶LQIURQWRIWKHMXU\LQRSHQLQJVWDWHPHQWVRUTXHVWLRQVWRZLWQHVVHV´ see
                  also Skelton v. Examiner Corp.:/DW  ('7H[2FW 
                      JUDQWLQJPRWLRQLn limine GXHWRSODLQWLII¶VIDLOXUHWROD\SURSHUSUHGLFDWHWRHVWDEOLVK
                  UHOHYDQFH DQG ³WKH SRWHQWLDO IRU VXEVWDQWLDO SUHMXGLFH WR >G@HIHQGDQWV LI WKH µEHOO LV
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                             D.     This Could Should Exclude Irrelevant And/Or Inflammatory
                                    Statements By Current Or Former Apple Employees
                                    1.     Statements About “Efficient Infringement”
                             $V$SSOHH[SODLQHGWKHFRQFHSWRI³HIILFLHQWLQIULQJHPHQW´LVLUUHOHYDQWWRWKLV
                   FDVHZKLFKGRHVQRWHYHQLQFOXGHOLYHSDWHQWLQIULQJHPHQWFODLPV0RW3ODLQWLIIV
                   GRQRWGLVSXWHWKDWWKH\KDYHQRWHOLFLWHGDQ\HYLGHQFHWKDW$SSOHDFWXDOO\HPSOR\HGDQ
                   ³HIILFLHQWLQIULQJHPHQW´VWUDWHJ\$V$SSOH¶V E  ZLWQHVVRQWKHLVVXHH[SODLQHG
                   $SSOHGRHVQRWEHOLHYHLQDQ\VXFKVWUDWHJ\DQGLWVEXVLQHVVFRQGXFWSROLF\LVH[SUHVVO\
                   WRWKHFRQWUDU\Compare 0RWwith 2SSsee also ([DW
                            :KLOH3ODLQWLIIVQRZLQVLQXDWHWKDWWKH\FRXOGQRWLGHQWLI\DQ\HYLGHQFHWRVXSSRUW
                  WKHLU SRVLWLRQ EHFDXVH $SSOH LPSURSHUO\ ZLWKKHOG ³UHOHYDQW UHVSRQVLYH GRFXPHQWV´
                  2SS  WKH 6SHFLDO 0DVWHU GLVDJUHHG  6SHFLILFDOO\ DOWKRXJK 3ODLQWLIIV PRYHG WR
                  FRPSHO $SSOH WR SURGXFH DGGLWLRQDO GRFXPHQWV WKDW XVHG WKH SKUDVH ³HIILFLHQW
                  LQIULQJHPHQW´ WKH 6SHFLDO 0DVWHU DFFHSWHG $SSOH¶V VZRUQ VWDWHPHQW WKDW                      
                                                                                                                        
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                      JUDQWLQJ 3ODLQWLIIV¶ PRWLRQ RQO\ WR WKH H[WHQW WKDW $SSOH ZDV UHTXLUHG WR ILOH WKH
                  GHFODUDWLRQ %\IDLOLQJWRWLPHO\REMHFWWRWKH6SHFLDO0DVWHU¶VUXOLQJ3ODLQWLIIVZDLYHG
                  DQ\ULJKWWRFRPSODLQDERXW$SSOH¶VIDLOXUHWRSURGXFHWKHWZRSULYLOHJHGGRFXPHQWV
                            )LQDOO\HYHQLI3ODLQWLIIVFRXOGSRLQWWRDQ\IRXQGDWLRQLQWKHUHFRUGVXJJHVWLQJ
                  WKDW³HIILFLHQWLQIULQJHPHQW´KDVWKHVOLJKWHVWDPRXQWRIUHOHYDQFHDQ\UHIHUHQFHWRWKH
                                            
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                   3ODLQWLIIVLPSO\ 2SS WKDW$SSOHLQWHQGVWRRIIHUDIILUPDWLYHHYLGHQFHWKDWLWGRHV
                    QRWHQJDJHLQ³HIILFLHQWLQIULQJHPHQW´7RWKHH[WHQWLWZLOOUHVROYHWKLVGLVSXWH$SSOH
                  FRPPLWVWRQRWUHIHUHQFLQJWKHSKUDVHDWWULDO
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                   SKUDVHZRXOGEHXQIDLUO\SUHMXGLFLDOEHFDXVHLWZRXOGVXJJHVW ZLWKRXWDQ\HYLGHQWLDU\
                   EDVLV  WKDW $SSOH V\VWHPDWLFDOO\ LQIULQJHV LQWHOOHFWXDO SURSHUW\ ULJKWV DQG WKDW LW PXVW
                   KDYHLQIULQJHG3ODLQWLIIV¶ULJKWVLQWKLVFDVH0RWsee also Copart, Inc. v. Sparta
                   Consulting, Inc.  :/  DW  (' &DO $SU    ILQGLQJ ³WKH
                   HYLGHQFHVXEVWDQWLDOO\PRUHSUHMXGLFLDOWK>D@QSUREDWLYHEHFDXVHRIWKHKLJKULVNWKHMXU\
                   ZLOO WUHDW WKH HYLGHQFH DV SURSHQVLW\ HYLGHQFH ZHLJKHG DJDLQVW WKH UHODWLYHO\ ORZ
                   SUREDWLYH YDOXH RI WKLV HYLGHQFH DV WR >WKH SDUW\¶V@ PRWLYHV RU LQWHQW LQ WKLV FDVH´ 
                   3ODLQWLIIV¶RQO\UHVSRQVHLVWKDWPHUHO\³DVN>LQJ@TXHVWLRQVLQVXSSRUWRI>WKH@WKHRU\´
                   FDQQRWEHSUHMXGLFLDOLI3ODLQWLIIVFDQQRWVKRZ$SSOHDFWXDOO\HQJDJHVLQWKHSUDFWLFH
                  2SS1RWVR6XFKTXHVWLRQVZRXOGDOORZ3ODLQWLIIVWRSODQWDVHHGLQWKHPLQG
                  RIWKHMXU\WKDW$SSOHKDVDFWHGLPSURSHUO\ZLWKRXWDQ\HYLGHQWLDU\EDVLV²DQXQIRXQGHG
                  JXLOWE\DVVRFLDWLRQDUJXPHQWWKDWZRXOGRQO\EHJLYHQPRUHDWWHQWLRQLI$SSOHVSHQW
                  YDOXDEOHWLPHDQGUHVRXUFHVGLVSURYLQJLWSee Bioriginal Food & Sci. Corp. v. Biotab
                  Nutraceuticals, Inc.:/DW  &'&DO$XJ  ³H[SRVLQJ
                  WKHMXU\WRHYLGHQFHRI>LUUHOHYDQWGLVSXWHVEHWZHHQGHIHQGDQWVDQGWKLUGSDUWLHV@FRXOG
                  UHVXOWLQFRQIXVLRQDQGFDXVHXQIDLUSUHMXGLFHDQGGHOD\´ 
                                2.      Irrelevant And Prejudicial Statements Attributed To Steve Jobs
                         $V$SSOHH[SODLQHG6WHYH-REV¶VVWDWHPHQWVWKDW³JRRGDUWLVWVFRS\JUHDWDUWLVWV
                  VWHDO´DQG³>L@W¶VEHWWHUWREHDSLUDWHWKDQMRLQWKHQDY\´DUHERWKLUUHOHYDQWWRWKLVFDVH
                  DVWKH\KDYHQRUHODWLRQWRWKHDFFXVHGSURGXFWVRULVVXHVWREHWULHGLQFOXGLQJEHFDXVH
                  0U-REVSDVVHGDZD\\HDUVEHIRUHWKHXQGHUO\LQJHYHQWVLQWKLVFDVH0RW3ODLQWLIIV
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                     3ODLQWLIIV¶ UHIHUHQFH WR ³HIILFLHQW LQIULQJHPHQW´ LV DOVR OLNHO\ WR OHDG WR DUJXPHQWV
                  WHVWLPRQ\RUHYLGHQFHUHJDUGLQJRWKHUOLWLJDWLRQVRUDGPLQLVWUDWLYHSURFHHGLQJVDJDLQVW
                    $SSOHZKLFKVKRXOGEHH[FOXGHGIRUWKHUHDVRQVVWDWHGLQ$SSOH¶VPRWLRQLQOLPLQH1R
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                     3ODLQWLIIVDUJXHWKDW$SSOHVKRXOGQRWEHDOORZHGWRH[FOXGHWKHVHQWHQFHULJKWDIWHUWKH
                    ³JRRGDUWLVWV´TXRWHLQWKHVDPHLQWHUYLHZ2SS%XWDV3ODLQWLIIVUHFRJQL]HG$SSOH
                  GRHVQRWOLPLWLWVHOIWRMXVWWKHVHWZRVHQWHQFHVSee 2SS$SSOHLGHQWLILHVWKH³JRRG
                                                                                      (Cont’d on next page)
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                    $33/(¶65(3/<,168332572),760,/12(;&/8'(,55(/(9$17$1'25,1)/$00$725<
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                   WKHPVHOYHVDFNQRZOHGJHWKDW0U-REVZDVQRWRQH³RIWKHUHOHYDQWGHFLVLRQPDNHUVDW
                   $SSOH´IRUSXUSRVHVRIWKLVFDVH2SS$VGHPRQVWUDWHGE\WKHFDVHV$SSOHFLWHLQ
                   LWVRSHQLQJEULHIFRXUWVURXWLQHO\JUDQWVLPLODUUHTXHVWVH[FOXGLQJHYLGHQFHVWDWHPHQWV
                   RUDUJXPHQWVUHODWLQJWR0U-REVWKDWLVLUUHOHYDQWWRWKHXQGHUO\LQJFDVHV
                            3ODLQWLIIV IDLO WR HIIHFWLYHO\ GLVWLQJXLVK $SSOH¶V FDVHV  See 2SS   )RU
                   H[DPSOH3ODLQWLIIVPLVOHDGZKHQWKH\VXJJHVWWKDWWKHUXOLQJLQPinn, Inc. v. Apple, Inc.
                   ZDVXQRSSRVHG7KHSODLQWLIIVLQWKDWFDVHRULJLQDOO\RSSRVHG$SSOH¶VUHTXHVWWRH[FOXGH
                   HYLGHQFHDERXW0U-REVLQFOXGLQJWKH³JRRGDUWLVWV´TXRWHLQIURQWRIWKHVSHFLDOPDVWHU
                       FY (&) 1R  DW  &' &DO $SU    DQG ZKLOH WKH
                  SODLQWLIIVGLGQRWREMHFWWRWKHVSHFLDOPDVWHU¶VXOWLPDWHUXOLQJWKHFRXUWDGRSWHGWKDW
                  UXOLQJRQO\DIWHUFRQGXFWLQJLWVRZQde novoUHYLHZ:/DW  &'
                  &DO-XO\ 3ODLQWLIIVGRQRWGLVSXWHWKDWWKHFRXUWLQContentguard Holdings,
                  Inc. v. Amazon.com, Inc.H[SUHVVO\H[FOXGHG0U-REV¶VWDWHPHQWV:KLOHWKH\QRWHWKDW
                  WKHFRXUWGLGQRWH[SUHVVO\H[FOXGHDGLIIHUHQWSLHFHRIHYLGHQFH DGRFXPHQWDU\HQWLWOHG
                  ³7ULXPSKRIWKH1HUGV´ WKDWLQFOXGHVRQHRIWKHVWDWHPHQWVDWLVVXHKHUHWKLVRPLWVWKDW
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                  WR³VWDWHPHQWVORQJDJRE\6WHYH-REV´WKDWDUH³XQUHODWHGWRWKHOLWLJDWLRQ´7KHRQO\
                  VWDWHPHQWVE\0U-REVWKDWZHUHLQWURGXFHGLQYROYHG$SSOH¶VUHODWLRQVKLSZLWKDWKLUG
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                  DQ\LQGHSHQGHQWDUJXPHQWIRUZK\WKH³EHWWHUWREHDSLUDWHWKDQMRLQWKHQDY\´TXRWHLV
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                   UHOHYDQW EH\RQG ZKDW KDV EHHQ GLVFXVVHG DERYH LQ WKH FRQWH[W RI WKH SLUDWH
                   LPDJHU\UHIHUHQFHVHFWLRQSee 2SS)RUWKHUHDVRQVH[SODLQHGDERYHWKHVWDWHPHQW
                   VKRXOGEHH[FOXGHGSee supra ,,&
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                   QHFHVVDULO\EHUHOHYDQWWRWKLVFDVH
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                  WKH PHDQLQJ RI -REV¶V VWDWHPHQW  7R WKH FRQWUDU\ WKH\ KDYH IDLOHG WR LGHQWLI\ DQ\
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                   WKDWFKDUDFWHUHYLGHQFHPD\EHFRPHUHOHYDQWXQGHUVRPHXQNQRZQFLUFXPVWDQFHVDWWULDO
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                   ³GLG QRW DQWLFLSDWH DW WKH WLPH RI LWV LQLWLDO UXOLQJ´  Ruiz v. Walmart Inc.  :/
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                  H[SODQDWLRQ IRU ZK\ WKH VWDWHPHQWV DUH QRW XQIDLUO\ SUHMXGLFLDO LV WKHLU EOLWKH
                  XQVXSSRUWHG DVVXUDQFH WKDW WKH MXU\ ZLOO EH DEOH WR GHWHUPLQH WKH UHOHYDQW
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                   LQIODPPDWRU\VWDWHPHQWV
                                                         CONCLUSION
                        )RUWKHIRUHJRLQJUHDVRQVWKH&RXUWVKRXOGJUDQW$SSOH¶V0RWLRQLQ/LPLQH1R
                   WR SUHFOXGH 3ODLQWLIIV IURP SUHVHQWLQJ DQ\ HYLGHQFH WHVWLPRQ\ RU DUJXPHQW DERXW
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                                            CERTIFICATE OF COMPLIANCE
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